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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 IN RE PHARMACEUTICAL INDUSTRY )                      MDL No. 1456
 AVERAGE WHOLESALE PRICE       )
 LITIGATION                    )                      Master File No. 01-cv-12257-PBS
                               )
                               )                      Subcategory No. 06-11337-PBS
                               )                      Civil Action No. 08-cv-10852
 THIS DOCUMENT RELATES TO:                        )
 United States of America ex rel. Ven-A-          )   Judge Patti B. Saris
 Care of the Florida Keys, Inc., by and           )
 through its principal officers and directors,    )
 Zachary T. Bentley and T. Mark Jones v.          )
 Actavis Mid Atlantic LLC, et al.                 )
                                                  )


             [PROPOSED] ORDER ON JOINT MOTION TO EXTEND
     THE 90-DAY ORDER OF DISMISSAL AS TO DEFENDANTS ACTAVIS, INC.,
                        ACTAVIS ELIZABETH LLC
                    AND ACTAVIS MID ATLANTIC LLC

       The Court having reviewed the Parties’ Joint Motion to Extend the 90-Day Order of

Dismissal and having been advised that the Parties need additional time to conclude their

settlement discussions, finalize settlement papers and obtain the United States’ written consent to

the dismissals provided for by the settlements:

       IT IS ORDERED that the time period to reopen the action if settlement is not

consummated in the Settlement Order of Dismissal dated May 27, 2011 is extended an additional

60 days until October 24, 2011.

       SO ORDERED by the Court.

       Entered ____ day of _____________, 2011.


                                                 ______________________________________
                                                 THE HONORABLE PATTI B. SARIS
                                                 UNITED STATES DISTRICT COURT JUDGE
